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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

IN RE:                                     §
                                           §
NEIGHBORS LEGACY HOLDINGS, INC.,           §     CASE NO. 18-33836-H1-11
                                           §     (Chapter 11)
     Debtor.                               §

MARK SHAPIRO, TRUSTEE                    §
OF THE UNSECURED CREDITOR TRUST          §
OF NEIGHBORS LEGACY HOLDINGS,            §
INC. AND ITS DEBTOR AFFILIATES           §
                                         §
        Plaintiff,                       §
                                         §
VS.                                      §       ADV. P. NO. 20-03017
                                         §
NEIGHBORS LEGACY HOLDINGS, INC.;         §
NEIGHBORS GLOBAL HOLDINGS, LLC;          §
NEIGHBORS HEALTH, LLC;                   §
NHS EMERGENCY CENTERS, LLC               §
NEIGHBORS GP, LLC;                       §
SETUL G. PATEL, M.D., Individually and   §
in his capacity as officer and director; §
PAUL ALLEYNE, M.D., Individually and     §
in his capacity as officer and director; §
CYRIL GILLMAN, M.D., Individually and    §
in his capacity as officer and director; §
MICHAEL CHANG, M.D., Individually and    §
in his capacity as officer and director; §
ANDY CHEN, M.D., Individually and        §
in his capacity as officer and director; §
QUANG HENDERSON, M.D., Individually and §
in his capacity as officer and director; §
HITESH PATEL, M.D., Individually and     §
in his capacity as officer and director; §
DHARMESH PATEL, M.D., Individually and §
in his capacity as officer and Director, §
GIRISH CAPITAL, LLC                      §
                                         §
        Defendants.                      §

                    TRUSTEE’S FIRST AMENDED COMPLAINT
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         TO THE HONORABLE MARVIN ISGUR, U.S. BANKRUPTCY JUDGE: COMES NOW,

PLAINTIFF MARK SHAPIRO, TRUSTEE OF THE UNSECURED CREDITOR TRUST OF

NEIGHBORS LEGACY HOLDINGS, INC. AND ITS DEBTOR AFFILIATES and files this First

Amended Complaint,1 and for cause of action would show as follows:

                                                         I.
                                              Jurisdiction and Venue

         1.     This adversary proceeding is commenced in accordance with Rule 7001(1) of the Federal

Rules of Bankruptcy Procedure.

         2.     This Court has subject-matter jurisdiction over this over this action pursuant to 28 U.S.C.

§1334(b) because this adversary proceeding arises in, arises under, and/or relates to the Neighbors

Debtor Entities chapter 11 case(s).

         3.     This adversary proceeding contains “core” claims pursuant to 28 U.S.C. §157(b)(2).

         4.     Pursuant to Federal Rule of Bankruptcy Procedure 7008, the Unsecured Creditor Trustee

consents to entry of a final order or judgment by the Bankruptcy Court in this matter.

         5.     Venue is proper in this district under 28 U.S.C. §§1409(a). This adversary proceeding

is related to a bankruptcy case under Chapter 11 of the Bankruptcy Code that is pending in this district

as consolidated case number 18-33836.

         6.     The statutory basis for this complaint is §§547, 458, and 550 of the Bankruptcy Code as

well as Texas Business and Commerce Code §24.006. Additionally, this complaint asserts state

common-law claims.



1
  This First Amended Complaint is being filed in Adversary Cause No. 20-03017. The Court has previously indicated
that this matter will be consolidated with Adversary Cause No. 18-3276; however, the Court has not yet entered that
order. Because of the nature of the Pacer filing system, the Trustee believes this is the appropriate docket to file this
First Amended Complaint until the cases are formally consolidated.
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                                                II.
                                              Parties

       7.     Plaintiff Mark Shapiro, Trustee of the Unsecured Creditor Trust (“Unsecured Creditor

Trustee”), brings this action on behalf of the Unsecured Creditor Trust created as a part of the

Confirmation Order approving the First Amended Joint Plan of Liquidation of Neighbors Legacy

Holdings, Inc. and its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code (the “Plan”).

       8.     Defendant Neighbors Legacy Holdings, Inc. (“Neighbors”) is a Texas corporation that

may be served by and through its counsel of record Clay Steely, Porter Hedges, LLP, 1000 Main

Street, Suite 3600, Houston, Texas 77002.

       9.     Defendant Neighbors Global Holdings, LLC (“Neighbors Global”) is a Texas limited

liability company that may be served by and through its counsel of record Clay Steely, Porter Hedges,

LLP, 1000 Main Street, Suite 3600, Houston, Texas 77002.

       10. Defendant Neighbors Health, LLC (“Neighbors Health”) is a Texas limited liability

company may be served by and through its counsel of record Clay Steely, Porter Hedges, LLP, 1000

Main Street, Suite 3600, Houston, Texas 77002.

       11. NHS Emergency Centers, LLC (“NHS Emergency”) is a Texas limited liability company

that may be served by and through its counsel of record Clay Steely, Porter Hedges, LLP, 1000 Main

Street, Suite 3600, Houston, Texas 77002.

       12. Defendant Neighbors GP, LLC (“Neighbors GP”) is a Texas limited liability company

that may be served by and through its counsel of record Clay Steely, Porter Hedges, LLP, 1000 Main

Street, Suite 3600, Houston, Texas 77002.

       13. Defendant Setul G. Patel, M.D. (“S. Patel”), in his capacity as an officer and director, is

an individual that may be served by and through his counsel of record Paul D. Flack, Pratt and Flack,

LLP, 4306 Yoakum Blvd., Suite 500, Houston, Texas 77006.
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       14. Defendant Paul Alleyne, M.D. (“Alleyne”), in his capacity as an officer and director, is

an individual that may be served by serving his counsel of record Millard A. Johnson, Johnson

DeLuca Kennedy & Kurisky, P.C., 1221 Lamar, Suite 1000, Houston, Texas 77002.

       15. Defendant Cyril Gillman, M.D. (“Gillman”), in his capacity as an officer and director,

is an individual that may be served by serving his counsel of record Millard A. Johnson, Johnson

DeLuca Kennedy & Kurisky, P.C., 1221 Lamar, Suite 1000, Houston, Texas 77002.

       16.   Defendant Michael Chang, M.D. (“Chang”), in his capacity as an officer and director,

is an individual that may be served by serving his counsel of record Jay Munisteri, Foley Gardere,

1000 Louisiana, Suite 2000, Houston, Texas 77002.

       17. Defendant Andy Chen, M.D. (“Chen”), in his capacity as an officer and director, is an

individual that may be served by serving his counsel of record Jay Munisteri, Foley Gardere, 1000

Louisiana, Suite 2000, Houston, Texas 77002.

       18. Defendant Quang Henderson, M.D. (“Henderson”) in his capacity as an officer and

director, is an individual that may be served by serving his counsel of record Jay Munisteri, Foley

Gardere, 1000 Louisiana, Suite 2000, Houston, Texas 77002.

       19.    Defendant QSH Family LP is a Texas limited partnership that may be served by its

Registered Agent Quang H. Henderson, 10822 Roaring Brook Lane, Houston, Texas 77024.

       20. Defendant Hitesh Patel, M.D. (“H. Patel”) in his capacity as an officer and director, is

an individual that may be served by serving his counsel of record Jay Munisteri, Foley Gardere, 1000

Louisiana, Suite 2000, Houston, Texas 77002.

       21. Defendant Dharmesh Patel, M.D. (“D. Patel”) in his capacity as an officer and director,

is an individual that may be served by serving his counsel of record Christina Minshew Lewis, Moyer

Patton, 11767 Katy Freeway, Suite 990, Houston, Texas 77079.
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        22. Defendant Girish Capital, LLC is a Texas limited liability company that may be served

through its registered agent, Setul G. Patel at 12320 Bend Creek Lane, Pearland, Texas 77584.

        23. Neighbors, Neighbors Health, Neighbors Global, NHS Emergency, and Neighbors GP

are hereinafter collectively referred to as the “Neighbors Defendants”.

        24. Alleyene, Gillman, Chang, Chen, Henderson, S. Patel, H. Patel, and D. Patel are

hereinafter collectively referred to as the “Neighbors’ O&Ds.”

        25. Defendant Infinity Emergency Management Group, LLC is a Texas limited liability

company that may be served by its Registered Agent Jermaine Bowen, 11724 Pueblo Fuerte Court,

El Paso, TX 79936.

                                                   III.
                                             Background Facts

        A.    General Background

        26. On July 12, 2018 (the “Petition Date”), the Neighbors Legacy Holdings, Inc. and certain

other affiliates2 (collectively, the “Neighbors Debtor Entities”) filed voluntary petitions for relief

under chapter 11 of the Bankruptcy Code.




2
 The Neighbors Debtor Entities include Neighbors Legacy Holdings, Inc., Neighbors Global Holdings, LLC, Neighbors
Health, LLC, NEC Bellaire Emergency Center, LP, NEC Kingwood Emergency Center, LP, NEC Baytown Emergency
Center, LP, NEC Pasadena Emergency Center, LP, NEC Pearland Emergency Center, LP, NEC Lakeline Emergency
Center, LP, NEC Beaumont Emergency Center, LP, NEC Mueller Emergency Center, LP, NEC Yorktown Emergency
Center, LP, NEC Crosby Emergency Center, LP, NEC Orange Emergency Center, LP, NEC Midland Emergency Center,
NEC Zaragoza Emergency Center, LP, NEC Tyler Emergency Center, LP, NEC Eastside Emergency Center, LP, NEC
Port Arthur Emergency Center, LP, NEC Texas City Emergency Center, LP, NEC Odessa Emergency Center, LP, NEC
Harlingen Emergency Center, LP, NEC Amarillo Emergency Center, LP, NEC Porter Emergency Center, LP, NEC
Brownsville Emergency Center, LP, NEC McAllen Emergency Center, LP, NEC Wichita Falls Emergency Center, LP,
NEC Longview Emergency Center, LP, NEC Texarkana Emergency Center, LP, NEC San Angelo Emergency Center,
LP, NEC College Station Emergency Center, LP, NEC Lufkin Emergency Center, LP, NEC West Warwick Emergency
Center, LP, NEC Lubbock Emergency Center, LP, NEC Greeley Emergency Center, LP, Next Door Urgent Care, LLC,
NEC Paris Emergency Center, LP, NEC Kerrville Emergency Center, LP, NEC Amarillo South Emergency Center, LP,
EDMG, LLC, Neighbors Emergency Center, LLC, Neighbors GP, LLC, Neighbors Physician Group, PLLC, Neighbors
Practice Management, LLC, Neighbors Physician Group – Colorado, LLC, NEC Pharr Emergency Center, LP, NEC
Kingwood Asset Holdings, LLC, NEC Baytown Asset Holdings, LLC, NEC Pearland Asset Holdings, LLC, NEC
Beaumont Asset Holdings, LLC.
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           27. On March 22, 2019, the Court entered an Order (the “Confirmation Order”) confirming

the First Amended Joint Plan of Liquidation of Neighbors Legacy Holdings, Inc. and its Debtor

Affiliates Under Chapter 11 of the Bankruptcy Code (the “Plan”).

           28. The Confirmation Order and Plan, among other things, approved the formation of the

Unsecured Creditor Trust on the effective date of the Plan, which occurred on April 8, 2019 (the

“Effective Date”) and the appointment of the Unsecured Creditor Trustee to administer the Unsecured

Creditor Trust.

           29. Pursuant to the Plan, the Unsecured Creditor Trust is charged with maximizing value for

the benefits of its beneficiaries. As a part of the Plan, the Neighbors Debtor Entities retained certain

causes of action, including those asserted in this matter.3 Those Retained Causes of Actions were

then subsequently assigned to the Unsecured Creditor Trust as a part of the establishment of the trust.4

           30. Accordingly, the Unsecured Creditor Trustee now brings the claims asserted below and

would show the Court the following:

           B.    Neighbors Emergency Centers Background

           31. The Neighbors Defendants are a group of entities that owned and operated freestanding

emergency centers in and around the State of Texas. The Neighbors Defendants were formed by the

Neighbors’ O&Ds identified above, or the “Gang of Eight” or “G8” as they often referred to

themselves.

           32. When the Neighbors’ O&Ds were focused on their initial mission—providing

emergency medical care through emergency centers that they built, owned, and operated—they were




3
    See the Plan at Cause No. 18-33836, Docket No. 854 at ¶123.
4
    See Unsecured Creditor Trust Agreement at Cause No. 18-33836, Docket No. 802-2 at p. 5.
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very successful. Indeed, Neighbors’ O&Ds had five locations at the start of 2014, all of which were

operated profitably.

        33. Spurred on by this success, the Neighbors’ O&Ds undertook a massive expansion

campaign fueled by debt. Initially, this expansion was funded by a $31 million debt transaction with

BBVA Compass in 2014, which was later increased to $50 million. By the end of 2015, Neighbors

had opened eighteen locations.

        34. To further fuel the Neighbors’ O&Ds massive expansion vision, Neighbors also obtained

a $150 million term loan from a syndicate led by Key Bank in late 2015. By the end of 2016,

Neighbors had continued its massive expansion plans, having opened a total of thirty-two locations.

        35. To structure the operation of each of the new facilities, the Neighbors’ O&Ds formed

separate entities (the “NEC Entities”) with respect to each emergency center they opened. Each NEC

Entity was individually licensed by the State of Texas to operate the emergency center at its respective

location.5

        36. Each NEC Entity was owned 99% by NHS Emergency and 1% by Neighbors GP.

However, the “profits and losses” in each of these entities was owned via membership interests in a

“Series LLC” that were tied to the profits and losses of each specific emergency center. These Series

LLCs did not own or operate the emergency centers. Instead, they were intended to be a mechanism

to distribute the profits and losses of each center.6

        37. These Series LLCs were co-owned by the Neighbors’ O&Ds and local emergency

physicians who would staff them. Typically, the Neighbors’ O&Ds would own 35% of each new

entity (directly or indirectly) and the local emergency physicians would own 65% (directly or


5
  See, e.g., Ex. A, State of Texas License for NEC Zargoza Emergency Center, LP and NEC Eastside Emergency Center,
LP.
6
  See, Defendants Joint Motion for Partial Summary Judgement at Cause No. 18-03276, Docket No. 62 at p. 3.
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indirectly). This was supposed to be the mechanism that the profits and losses for each emergency

center would be distributed to the Neighbors’ O&Ds and local emergency physicians who staffed

them.

        38. Additionally, each NEC Entity entered into a Management and Administrative Services

Agreement (the “Management Agreement”) with Neighbors Health under which, Neighbors Health

agreed to manage the operations and finances of NEC Entity for a fee. However, these Management

Agreements were not negotiated, arms-length transactions. Rather, they were simply countersigned

by Defendant S. Patel for both the NEC Entity and Neighbors Health and gave Neighbors Health and

the Neighbors’ O&Ds unfettered control over the finances and operations of each NEC Entity.

        39. Both Neighbors GP and NHS Emergency were owned 100% by Neighbors Health,

which was in turn owned 100% by Neighbors Global, which in turned was owned 100% by Neighbors

Legacy, which was owned by the Neighbors’ O&Ds.

        40.     Thus, at all relevant times, the Neighbors’ O&Ds were the officers and directors of

the Neighbors Defendants who made all decisions with respect to the management of each Neighbors’

Defendant and each NEC Entity. As such, the Neighbors’ O&Ds owed fiduciary duties (including

the duty of loyalty and duty of care) to each Neighbors’ Defendant and each NEC Entity individually.

        C.    Neighbors’ O&Ds Breach the Fiduciary Duties of Loyalty and Care

        41. As a result of their ever-growing expansion ambitions, the Neighbors model changed.

The Neighbors’ O&Ds were no longer focused on providing emergency medical care. Rather, they

perceived themselves as real estate developers who utilized the growing Neighbors empire to fuel

their personal real estate developments through agreements with affiliates and related parties. The

Gang of Eight, as they referred to themselves, quickly began focusing their business dealings on real

estate development outside of the Neighbors corporate structure.
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           42. Instead of Neighbors owning the real property associated with the emergency centers as

the Neighbors’ O&Ds did with their initial centers, they partnered with Read King Commercial

(“Read King”) to own, develop, and lease back the underlying real estate to the NEC Entities. In

doing so, their focus shifted away from the practice of providing emergency care and managing a

collection of emergency clinics and towards a focus on real estate development.

           43. To accomplish this, Defendant Setul Patel formed Defendant Girish Capital, in which

other members of the Neighbors’ O&Ds invested. Then Girish Capital engaged in direct investments

in Read King (or an affiliated entity) that ultimately owned many of the emergency centers and would

then lease those properties back to the respective NEC Entities.

           44. The utilization of Girish Capital for these transactions was even discussed amongst the

Neighbors’ O&Ds at their board meetings but outside the presence of any non-owner board

members.7 These constituted self-dealing transactions that should have been conducted within the

Neighbors organization and are a clear violation of the fiduciary duty of loyalty owed by the

Neighbors’ O&Ds to the Neighbors Defendants and the NEC Entities.

           45. When the real estate was later sold distribute a portion of the proceeds to the Neighbors’

O&Ds through their investment in Girish Capital. The Neighbors’ O&Ds scheme was summarized

well by Defendant Alleyne in response to complaints by Defendant H. Patel.

           46. Specifically, H. Patel complained that the profits others were making off the resale of

the underlying real estate of the emergency centers were too high and did not “sit well” with him. He

“wonder[ed] if [the Neighbors’ O&Ds] had real estate development in-house how much more we

could net ourselves with these kinds of flips.”8




7
    See Ex. B, Email Correspondence dated February 24, 2015.
8
    See Ex. C, Email Correspondence dated January 12, 2016.
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        47. In response, Defendant Alleyne reminded him that they “have ownership interests in

some of these facilities through Giresh [sic] Capital. We don't make any money until they sell. Let’s

root for them to succeed.”9

        48. In order to continue to fuel their growing real estate development ambitions, the

Neighbors’ O&Ds needed to keep the Neighbors empire operating and growing.

        49. In doing so, Neighbors’ O&Ds’ engaged in a pattern of breaching their fiduciary duties,

abuse of control, grossly negligent mismanagement, and waste of assets. This widespread pattern of

neglect, failing to properly oversee both the operations and finances of the emergency centers, and

failing to have even the basic corporate governance systems in place ultimately led to the collapse of

Neighbors.

        50. Defendant Alleyne highlighted the Neighbors’ O&Ds attitude towards corporate

governance in an email to the other Neighbors’ O&Ds in which he states:

        The 8 partners believe that we were the only ones qualified to make the best decisions for
        our Company. We brought on [non-owner board members] not so much to assist with
        decisions, but to provide “adult” supervision . . . Although we call ourselves the Board,
        we really are a bunch of owners who are running the Company under the guise of the
        Board . . . That’s why [the non-owner board members] have no vote . . .We seem to pick
        and choose what rules we want to follow and which ones we’ll just do our own way . . . I
        have no problem with any of this . . . we could literally throw a couple of million dollars
        out the window/year and no one would notice or feel the impact (as long as the dividends
        don’t keep getting cut.)10

        51. Further acknowledging this cavalier attitude towards corporate funds, there was not even

a basic budgeting process in place. In response to complaints from some of the local emergency

physicians about the shifting of money from performing emergency centers to non-performing

centers, one of the Neighbors’ O&Ds commented that “[w]here there are no budgets, there are no

‘expected norms.’ I would prefer not to emphasize that there have been no budgets.”11


9
  Id.
10
   See Ex. B, Email Correspondence dated February 24, 2015.
11
   See Ex. D, Draft Letter to Investors with Comments and Redline.
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         52. Highlighting this gross breach of the duty of care is a letter from Neighbors’ auditors,

Grant Thornton, that articulates numerous different internal control deficiencies that were deemed to

be material weaknesses such that there is a reasonable possibility that a material misstatement of the

Company’s financial statement would occur.12

         53. Some of these internal control deficiencies include such major failures as having an

“Inadequate Accounting System” that does not “meet the needs of a dynamic company.” This results

in having material weaknesses in the design and operation of the Control Environment and the

internal controls related to Revenue and Receivables.13

         54. Moreover, Grant Thornton noted other significant deficiencies in accounts receivable

reconciliation, accounting for capital asset purchases that were not actually made, cash management,

record retention, accounts payable, leasehold and sale leaseback transactions, and expense

reimbursement (including “items charged on Executive Credit Cards that appeared to be . . . not

normal business purchases”).14

         55. In short, the Neighbors’ O&Ds were engaged in grossly negligent mismanagement of

the Neighbors Defendants and NEC Entities in complete violation of their fiduciary duties of care

and loyalty, abusing their structure of power and control, wasting of corporate assets, and with no

regard of their massive conflicts of interest and competing duties of loyalty to all of the different NEC

Entities under their control, the Neighbors’ Defendants, and their own personal self-dealings through

Girish Capital.

         56. For example, Neighbors Health, by and through its officers and directors, the Neighbors’

O&Ds, managed the finances of each NEC Entity, including maintaining the bank accounts,




12
   See Ex. E, July 1, 2016 Grant Thornton Internal Control Deficiencies Letter.
13
   Id.
14
   Id.
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depositing funds from operations into their bank accounts, and paying expenses from their bank

accounts.

       57. The Neighbors’ O&Ds had knowledge of the finances of all of the NEC Entities owned

by NHS Emergency, including knowledge that a number of those emergency centers were suffering

losses and needed capital to continue operations. To provide the needed infusions of capital into these

emergency centers that were experiencing financial losses, the Neighbors’ O&Ds, in their capacity

as officers and directors of Neighbors Health, caused Neighbors Health to transfer large sums of

money out of the bank accounts of profitable NEC Entities into the bank accounts of the other

unprofitable emergency centers for no consideration.

       58. The Neighbors’ O&Ds knew that they were obligated to hold and distribute each NEC

Entity’s net profits for their respective Series LLC owners. The diversion of these funds by the

Neighbors’ O&Ds, stripped the performing emergency centers of their profits, causing substantial

damage to them in breach of the Neighbors’ O&Ds fiduciary duties.

       59. And as noted above, the Neighbors’ O&Ds also obtained massive bank loans to finance

the massive expansion of Neighbors and the operations of the non-performing centers. These loans

were secured/guaranteed not by the Neighbors’ O&Ds individually, but by all of the assets of all of

the NEC Entities, thereby causing substantial damages to the performing emergency centers and

ultimately causing the financial collapse of the entire Neighbors organization.

       60. In doing so, the Neighbors’ O&Ds kept the Neighbors’ empire afloat by violating

fiduciary duties owed to the performing NEC Entities to prop up the nonperforming NEC Entities.

       61. As a result, the Neighbors’ O&Ds personally benefited in numerous ways, highlighting

the massive conflicts of interest in serving in so many roles with competing interests. They simply

wore too many hats with competing interests, including making all of the management decisions for

all of the Neighbors’ Defendants and all of the NEC Entities, even though they had competing
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interests at times. This is in addition to the massive conflict of interest involved in making direct

investments through Girish Capital into the underlying real estate.

       62. For example, by keeping nonperforming emergency centers afloat, Neighbors’ Health

continued to receive its payments from each center for management under the Management

Agreements and the Neighbors’ O&Ds continued to make massive distributions to themselves

through the myriad of entities that they owned interests in including the Neighbors’ Defendants and

the NEC Entities. Additionally, the Neighbors’ O&Ds had a continuing interest in the real estate

through investments from Girish Capital that would trickle down to them individually in violation of

their duty of loyalty. By keeping the Neighbors empire afloat, the Neighbors’ O&Ds were able to

borrow massive amounts of additional funds to fuel their thirst for expansion and to allow them to

continue to replicate their scheme over and over again without regard for the profitability or

performance of the emergency centers.

       D.    Fraudulent Transfer Allegations

       63. As noted above, starting in 2014, Neighbors undertook a massive expansion campaign

fueled by debt. Initially, this expansion was funded by a $31 million debt transaction with BBVA

Compass in 2014, which was later increased to $50 million. By the end of 2015, Neighbors had

opened eighteen locations. Neighbors subsequently obtained a $150 million term loan from a

syndicate led by Key Bank in late 2015. By the end of 2016, Neighbors had opened a total of thirty-

two locations.

       64.       Each of the Neighbors’ O&Ds, LLC and/or Defendant QSH Family LP received

transfers of funds (“Transfers”) from the Neighbors Debtor Entities in 2016 and 2017. Summaries

of those transfers are listed below and total more than $37 million.
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                                  2016                  2017                    Total
       Setul Patel              $4,512,900.75          $1,211,766.82           $5,724,667.57
       Dharmesh Patel           $4,512,722.75          $1,211,766.82           $5,724,489.57
       Andy Chen                $4,478,290.75          $1,205,440.81           $5,683,731.56
       Chang, Michael           $4,378,891.75          $1,170,401.21           $5,549,292.96
       Quang Henderson          $3,688,464.75                                  $3,688,464.75
       QSH Family LP                                   $1,090,429.21
       Paul Alleyne             $2,732,989.75            $685,493.72           $3,418,483.47
       Cyrill Gillman           $2,560,831.75            $653,868.68           $3,214,700.43
       Hitesh Patel             $2,495,864.75            $578,981.58           $3,074,846.33
                               $29,360,957.00          $7,808,148.85          $37,169,105.85



       65.     In addition, from 2016 through 2018, Infinity Emergency Management Group, LLC

received Transfers totaling approximately $2,213,610.23.

       66.     At the time the Transfers were made, the Neighbors Debtor Entities were insolvent

when it made the Transfers as the fair market value of their assets exceeded their liabilities. The

Neighbors Debtor Entities were engaged in business or transactions for which any property remaining

after the Transfer was an unreasonably small capital. Additionally, at the time of the Transfers, the

Neighbors Debtor Entities could not make payments on its debts as they became due.

                                              IV.
                                   Claims and Causes of Action

       A.      Derivative Allegations

       67. The Unsecured Creditor Trustee brings this action on behalf of the Unsecured Creditor

Trust asserting the claims assigned to the trust by the Neighbors Debtor Entities. To the extent that

those claims are determined to be derivative claims brought in the right and for the benefit of the

Neighbors Debtor Entities to redress injuries suffered, and to be suffered, by them as a direct result

of the breaches of fiduciary duty, abuse of control, gross mismanagement, waste of corporate assets,

and unjust enrichment, as well as aiding and abetting of it, by the Neighbors Defendants and the
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Neighbors’ O&Ds, the Neighbors Debtor Entities are named as nominal defendants solely in a

derivative capacity.

       68. The Unsecured Creditor Trustee will adequately and fairly represent the interests of the

Neighbors Debtor Entities in enforcing and prosecuting their rights.

       69. The manager of the Neighbors Debtor Entities was Neighbors Health, which was in turn

controlled by the Neighbors’ O&Ds. The Unsecured Creditor Trustee has not made any demand on

the Neighbors Defendants or the Neighbors’ O&Ds to institute this action because such a demand

would be futile, wasteful, and useless. Demand would be futile for the following reasons:

       a.        As a result of their access to and review of internal corporate documents;
conversations and connections with corporate officers, employees, and directors; and attendance at
management and Board meetings, each of the defendants knew the adverse non-public information
regarding the false and misleading financial statements;

       b.        The Neighbors Defendants are insiders of the Neighbors Debtor Entities and they
have received substantial monetary compensation and other benefits. Accordingly, they are legally
incapable of disinterestedly and independently considering a demand to commence and vigorously
prosecute this action;

        c.      The Neighbors’ O&Ds are insider directors of the manager of the Neighbors Debtor
Entities and their principal professional occupation was their employment with the Neighbors
Defendants, pursuant to which they have received substantial monetary compensation and other
benefits. Accordingly, the Neighbors’ O&Ds are legally incapable of disinterestedly and
independently considering a demand to commence and vigorously prosecute this action;

       d.        The Defendants are entrenched and have multiple conflicts of interest and entangling
business relationships that preclude them from being disinterested and vigorously prosecuting the
wrongdoing alleged in this complaint;

        e.        The Neighbors’ O&Ds are not disinterested or independent and served on the Board
of the Neighbors Debtor Entities manager during the time of the wrongdoing and participated in the
wrongs complained of here. Pursuant to their specific duties as Board members, each was charged
with directing the management of the Neighbors Debtor Entities and their business affairs. Each
breached the fiduciary duties that they owed to the Neighbors Debtor Entities and its members in that
they failed to properly supervise the Neighbors Debtor Entities’ finances and operations, failed to
protect and preserve the funds of the Neighbors Debtor Entities, and transferred or allowed the
transfer of the funds of the Neighbors Debtor Entities. The majority of the directors have served on
the Board for several years and are, therefore, well aware of the Neighbors Debtor Entities’ finances
and operations and the transfers and decisions to transfer funds. Yet, the Neighbors’ O&Ds either
knew and caused the transfers of funds to be made or ignored the fact that the transfers were being
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made. Further, the Neighbors’ O&Ds either knew of the inflated operations expenses paid to affiliate
companies or ignored the fact that the payments were being made. Because they abdicated their
oversight responsibilities, these directors are personally liable for the conduct alleged here. the
Neighbors Debtor Entities, therefore, cannot exercise independent objective judgment in deciding
whether to bring this action, or whether to vigorously prosecute this action, because its members are
interested personally in the outcome, as it is their actions that have denuded the Neighbors Debtor
Entities of millions of dollars in funds and assets.

       f.         Each of the Neighbors’ O&Ds knew or directly benefited from the wrongdoing
alleged in this complaint;

       g.         The Neighbors’ O&Ds participated in efforts to conceal or disguise these wrongs
from the Neighbors Debtor Entities’ members or recklessly or negligently disregarded the wrongs
alleged in this complaint and are, therefore, not disinterested parties;

        h.       In order to bring this suit, all of the directors of the manager of the Neighbors Debtor
Entities and the voting member Neighbors Investment would be forced to sue themselves and persons
with whom they have extensive business and personal entanglements, which they will not do, thus
excusing demand;

         i.    The acts alleged in this complaint constitute violations of the fiduciary duties owed
by the Neighbors Debtor Entities manager’s officers and directors, and these acts are incapable of
ratification;

       j.        Each of the Neighbors’ O&Ds authorized or permitted the issuance and making of
various of the false and misleading statements, and are principal beneficiaries of the wrongdoing
alleged here, and thus could not fairly and fully prosecute such a suit even if such suit was instituted
by them.

       70. The Neighbors’ O&Ds have failed and refused to seek to recover for the Neighbors

Debtor Entities for any of the wrongdoing alleged by the Unsecured Creditor Trustee even though

the Neighbors’ O&Ds know of the claims and causes of action raised in this complaint.

       B.       Breach of Fiduciary Duty Against Neighbors Defendants and Neighbors’ O&Ds

       71. The Unsecured Creditor Trustee repeats the above numbered allegations as if fully set

forth herein.

       72. At all relevant times, the Neighbors’ O&Ds were the officers and directors of the

Neighbors Defendants who made all decisions with respect to the management of each Neighbors’

Defendant and each Neighbors Debtor Entities.          As such, the Neighbors Defendants and the
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Neighbors’ O&Ds owed fiduciary duties (including the duty of loyalty and duty of care) to each

Neighbors’ Defendant and each Neighbors Debtor Entity individually.

       73. The Neighbors’ O&Ds, directly and indirectly through their roles as officers and

directors of all of the Neighbors Defendants and the Neighbors Debtor Entities, breached their

fiduciary duties of care and loyalty in at least the following ways:

             a.        Violations of duties of loyalty in engaging in self-interested real estate

             transactions through Girish Capital;

             b.        Violations of duties of loyalty transferring funds and other assets from

             performing NEC Entities to non-performing NEC Entities;

             c.        Violations of duties of loyalty in abuse of their ability to control and influence

             all of the Neighbors Debtor Entities in operating them in their own personal best interest

             rather than the best interest of each individual entity when conflicts of interests arose

             between the entities, including but not limited to securing massive debt obligations with

             all of the assets of all of the Neighbors Debtor Entities;

             d.        Violations of duties of loyalty and care by failing to properly consider the

             interests of each Neighbors Debtor Entity individually causing the entities to waste

             valuable corporate assets by paying inflated operations expenses to affiliates;

             e.        Violations of duty of care in the gross mismanagement of their responsibilities

             and fiduciary duties with regard to prudently managing the assets and business of the

             Neighbors Debtor Entities in a manner consistent with the operations of a prudently run

             closely-held company as outlined, in part, by the issues identified in the Internal Control

             Deficiencies Letter issued by Grant Thornton;

             f.        Violations of duty of care in undertaking a massive expansion campaign

             financed by huge debt obligations without any degree of reasonable care or diligence
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                highlighted by the complete lack of budgeting and basic principles of corporate

                governance;

                g.         Violations of their duty to act fairly and equitably with respect to its

                management of each of Neighbors Debtor Entity’s finances and operations and preserve

                its profits for distribution,

                h.         Violations of their duty to act in the utmost good faith and exercise the most

                scrupulous honesty toward the Neighbors Debtor Entities; and

                i.         Violations of their duty to place the interests of the Neighbors Debtor Entities

                before their own and not use the advantage of its position to gain any benefit for

                themselves at the expense of the Neighbors Debtor Entities.

       74. Because of the above alleged breaches of duty of loyalty, the Neighbors Defendants and

the Neighbors’ O&Ds loose the presumption and benefit of the business judgment rule.

       75. The breaches of their fiduciary duties owed to the Neighbors Debtor Entities was the

proximate direct and consequential cause of significant harm to the Neighbors Debtor Entities and

ultimately led to the financial collapse of the entire Neighbors organization.

       C.            Negligence and Gross Negligence Against Neighbors Defendants and
                     Neighbors’ O&Ds

       76. The Unsecured Creditor Trustee repeats the above numbered allegations as if fully set

forth herein.

       77. The Neighbors Defendants and Neighbors’ O&Ds had a duty to the Neighbors Debtor

Entities to exercise reasonable care in performing their duties as officers and directors. The breaches

of fiduciary duty outlined above were negligent and rise to the level of gross negligence. Further, the

breaches were committed knowingly and with conscious disregard for the rights and welfare of the
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Neighbors Debtor Entities. Therefore, the Plaintiff is entitled to recover exemplary damages from

the Neighbors Health and the Neighbors’ O&Ds, which it now seeks.

       78. The breaches of their duty of care owed to the Neighbors Debtor Entities was the

proximate, direct, and consequential cause of harm to the Neighbors Debtor Entities. The Unsecured

Creditor Trustee, therefore, seeks recovery of exemplary and punitive damages.

       D.       Conspiracy to Breach Fiduciary Duties Against Neighbors Defendants and
                Neighbors’ O&Ds

       79. The Unsecured Creditor Trustee repeats the above numbered allegations as if fully set

forth herein.

       80. The Neighbors Defendants and Neighbors’ O&Ds, in their capacity as officers and

directors, conspired with each other to breach their fiduciary duties to the Neighbors Debtor Entities

as outlined above. The breaches of their duty of care owed to the Neighbors Debtor Entities was the

proximate direct and consequential cause of harm to the Neighbors Debtor Entities, for which the

Unsecured Creditor Trustee now brings suit.

        E.      Aiding and Abetting Breach of Fiduciary Duties Against Neighbors Defendants,
                Neighbors’ O&Ds, and Girish Capital

       81. The Unsecured Creditor Trustee repeats the above numbered allegations as if fully set

forth herein.

       82. At all relevant times, the Neighbors’ O&Ds were the officers and directors of the

Neighbors Defendants who made all decisions with respect to the management of each Neighbors’

Defendant and each Neighbors Debtor Entities.         As such, the Neighbors Defendants and the

Neighbors’ O&Ds owed fiduciary duties (including the duty of loyalty and duty of care) to each

Neighbors’ Defendant and each Neighbors Debtor Entity individually.

       83. Girish Capital was founded by Defendant Setul Patel and other members of the

Neighbors’ O&Ds invested in Girish Capital for the purpose of conducting related party transactions
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with Neighbors Debtor Entities. Girish Capital made direct investments in Read King and affiliated

entities into the underlying real estate.

         84. The knowledge, duties, and obligations of the Neighbors Defendants and the Neighbors’

O&Ds is imputed to Girish Capital through its founder, Defendant Setul Patel and the other members

of the Neighbors’ O&Ds invested in Girish Capital.

         85.    The Neighbors Defendants, Neighbors’ O&Ds, and Girish Capital all aided and abetted

the Neighbors Defendants and the Neighbors’ O&Ds in breaching their fiduciary duties to the

Neighbors Debtor Entities as outlined above. The breaches of their duty of care owed to the

Neighbors Debtor Entities was the proximate direct and consequential cause of harm to the Neighbors

Debtor Entities, for which the Unsecured Creditor Trustee now brings suit.

         F.      Recovery of Transfers Pursuant to 11 U.S.C. §§544, 548 & 550 and
                 Texas Business and Commerce Code §24.006

         86. The Unsecured Creditor Trustee repeats the above numbered allegations as if fully set

forth herein.

         87.    The Unsecured Creditor Trustee seeks to avoid the Transfers as fraudulent pursuant to

11 U.S.C. §§544, 548, and applicable state law, including Texas Business and Commerce Code

§24.006(a).

         88.    The Neighbors Debtor Entities made the Transfers to or for the benefit of the Neighbors’

O&Ds, QSH Family LP, and/or Infinity Emergency Management Group, LLC. Specifically, the cash

from Neighbors Debtor Entities bank account was sent directly to the Neighbors’ O&Ds, QSH Family

LP, and/or Infinity Emergency Management Group, LLC. Each of the Neighbors’ O&Ds, QSH

Family LP, and/or Infinity Emergency Management Group, LLC. received transfers of funds from

the Neighbors Debtor Entities in 2016, 2017, and/or 2018. Summaries of those transfers are listed

above.
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        89.    The Transfers were made from funds in the Debtor's bank account and was a transfer

of an interest in property of the Neighbors Debtor Entities. The Neighbors Debtor Entities received

less than reasonably equivalent value for the Transfers.

        90.    The Neighbors Debtor Entities were insolvent when it made the Transfers as the fair

market value of their assets exceeded their liabilities. The Neighbors Debtor Entities were engaged

in business or transactions for which any property remaining after the Transfer was an unreasonably

small capital. Additionally, at the time of the Transfers, the Neighbors Debtor Entities could not

make payments on its debts as they became due.

        91.    Therefore, the Transfers are avoidable as a fraudulent transfer under 11 U.S.C. §§544

& 548 and applicable state law, including Texas Business and Commerce Code §§24.006.

        92.    Section 550 of the Bankruptcy Code provides that if a transfer is avoided under §§544

and 548 of the Bankruptcy Code, the Unsecured Creditor Trustee may recover the property or the

value of the property transferred from the initial transferee, the entity for whose benefit the transfer

was made, or any immediate or mediate transferee of the initial transferee.

        93.    The Transfers or the value of the Transfers that are avoidable under §§544 or 548 of

the Bankruptcy Code are recoverable for the Unsecured Creditor Trust under §550 of the Bankruptcy

Code.

                                                 V.
                                            Jury Demand

        94. The Plaintiff demands a trial by jury as to all issues in this case.
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                                              VI.
                                             Prayer

      WHEREFORE, the Unsecured Creditor Trustee demands judgment against the Transfer

Defendants:

        A. Actual damages, including direct and consequential damages;

        B. Exemplary or punitive damages;

        C. Prejudgment and post-judgment interest as allowed by law; and

        D. Costs of court.

        E. Determining that the Transfers are avoidable as fraudulent transfers under 11
           U.S.C. §§544 and 548 and Texas Business and Commerce Code §24.006(a).
        F. Directing the Transfer Defendants to pay the Unsecured Creditor Trustee the
           value of the Transfers in the amount determined at trial, but not less than the
           amount set forth above in Exhibit A, plus interest and costs of suit under 11
           U.S.C. §550(a).
        G. To the extent that the Trustee recovers under 11 U.S.C. §544 and Texas Business
           and Commerce Code §24.006(a), attorney fees pursuant to Texas Business and
           Commerce Code §24.013.
        H. For such other and further relief as the Court deems just and proper.



                                           Respectfully Submitted,

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